                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DISTRICT

In Re:

JOSEPH DuMOUCHELLE FINE                              Case No. 19-56239
& ESTATE JEWELLERS, L.L.C.                           Chapter 7
                                                     Hon. Lisa S. Gretchko
              Debtor,

_________________________________/

     ORDER GRANTING TRUSTEE’S MOTION FOR AN ORDER
PURSUANT TO SECTIONS 105 AND 363 OF THE BANKRUPTCY CODE
AND FEDERAL RULES OF BANKRUPTCY PROCEDURE 9019 AND 2002
   APPROVING SETTLEMENT WITH ZEIDMAN’S JEWELRY AND
  LOAN OF MICHIGAN, LLC, ZEIDMAN’S JEWELRY & LOAN OF
  SOUTHFIELD, INC., AND ZEIDMAN’S LOAN OFFICE, INC., AND,
       IN ADDITION, APPROVING A SETTLEMENT WITH
    WILLIAM NOBLE RARE JEWELS, LP, WILLIAM NOBLE AND
      ITS AFFILIATES REGARDING THE DISTRIBUTION OF
   PROCEEDS UNDER THE AGREEMENT FOR ASSIGNMENT OF
  RIGHTS AND PROCEEDS SHARING DATED SEPTEMBER 2, 2020

         This matter came before the Court upon the Trustee’s Motion For An Order

Pursuant To Sections 105 and 363 Of The Bankruptcy Code And Federal Rules Of

Bankruptcy Procedure 9019 And 2002 Approving Settlement With Zeidman’s

Jewelry And Loan Of Michigan, LLC, Zeidman’s Jewelry & Loan Of Southfield,

Inc., And Zeidman’s Loan Office, Inc. (collectively, the “Zeidman’s Entities”), And,

In Addition, Approving A Settlement With William Noble Rare Jewels, LP, William

Noble And Its Affiliates Regarding The Distribution Of Proceeds Under The

Agreement For Assignment Of Rights And Proceeds Sharing Dated September 2,


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2020 (“Motion”; ECF No. 293). All interested parties were served with notice of the

Motion and of the deadline for objections thereto. No objection to the Motion was

timely filed and a certification of no response was filed (ECF No. 303), however on

May 30, 2023, the Court held a hearing on the Motion (“Hearing”). The Chapter 7

Trustee, counsel for the Chapter 7 Trustee, counsel for the Zeidman’s Entities, and

counsel for William Noble Rare Jewels, LP and William Noble (collectively

“Noble”) appeared at the Hearing. The Court has reviewed the Motion and other

pertinent pleadings, has considered the statements made at the Hearing, and is

advised in the premises.

      NOW, THEREFORE, IT IS HEREBY ORDERED that:

      1.    The Motion is GRANTED as set forth in this Order.

      2.    The Settlement1 is approved.

      3.    The Trustee is authorized to enter into the Settlement and to perform

acts thereunder.

      4.    The Noble Agreement, as set forth in paragraph 23 of the Motion, is

approved. Pursuant to the Noble Agreement, instead of the payment to which Noble

is entitled under the Assignment Agreement, Noble will receive from the Trustee the




     1 Capitalized terms used but not defined in this Order shall have the
meaning ascribed to them in the Motion.


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Oval Diamond Ring and a one-time payment of $5,000. The Trustee will be entitled

to all other proceeds from the Settlement. Noble will sign the Settlement.

      5.     To the extent necessary, the Assignment Agreement is deemed

amended to reflect the terms of the Noble Agreement.

      6.     The Court retains jurisdiction to hear and decide disputes regarding this

Order, the Settlement, the Assignment Agreement and the Noble Agreement.

Signed on May 31, 2023




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